There could not be a recovery at law, upon the bond, against Pasteur's executors. One partner cannot bind another by bond. Plaintiff's relief was in this Court, under such circumstances. Plaintiff *Page 342 
failed at law, because he had chosen the wrong jurisdiction; and if he could now be told, "You cannot recover here, because of your failure at law," it would be very absurd.
Decree for plaintiff.
NOTE. — See Walker v. Dickerson, ante, 23, and the cases referred to in the note. See, also, Spear v. Gillet, 16 N.C. 466; Horton v. Child,15 N.C. 460; Wharton v. Woodburn, 20 N.C. 507.
Dist.: Fisher v. Pender, 52 N.C. 484.
(394)